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      Phone 415-730-6289
 4    Attorney for Plaintiff Oscar Ramos
 5                                UNITED STATES DISTRICT COURT
 6                               EASTERN DISTRICT OF CALIFORNIA
      _____________________________________
 7                                           ) Case Number 25-0723 DAD-CSK
      Oscar Ramos,                           )
 8                                           )
                                             )
 9                    Plaintiff,             )
      Vs.                                    ) NOTICE OF VOLUNTARY DISMISSAL
10                                           ) WITH PREJUDICE
      MDHCT, Inc., et al.,                   )
11                                           )
                                             )
12                        Defendants.        )
                                             )
13                                           )

14
15   Plaintiff Oscar Ramos, through his attorney of record, Richard A. Mac Bride, hereby provides
16   notice of voluntary dismissal with prejudice of this matter as against all defendants and as to all
17   causes of action, and requests that the clerk of the Court enter the appropriate notation on the
18   Court’s docket.
19
20   Law Offices of Richard A. Mac Bride
21   By: Richard A. Mac Bride /s/ Richard A. Mac Bride
22   Attorney for Plaintiff Oscar Ramos
23   May 28, 2025
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     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE – 25-0723 DAD-CSK
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